



















In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-06-00993-CR

____________


KENDRIC THOTHION, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 339th District Court

Harris County, Texas

Trial Court Cause No. 1032956






MEMORANDUM  OPINION

	Appellant, Kendric Thothion, pleaded no contest to the felony offense of
indecency with a child, and in accordance with his plea bargain agreement with the
State, the trial court sentenced him to confinement for two years.  Appellant filed a
timely notice of appeal.  We dismiss for lack of jurisdiction.

	In a plea-bargained case in which the punishment assessed does not exceed the
plea agreement, a defendant may appeal only those matters that were raised by written
motion filed and ruled on before trial, or after obtaining the trial court's permission
to appeal.  Griffin v. State, 145 S.W.3d 645, 648-49 (Tex. Crim. App. 2004); Cooper
v. State, 45 S.W.3d 77, 80 (Tex. Crim. App. 2001); Tex. R. App. P. 25.2(a)(2).

	The trial court's certification of appellant's right to appeal in this case states
that this is a plea-bargained case and appellant has no right to appeal.  The record
supports the correctness of the certification.  Dears v. State, 154 S.W.3d 610, 614-15
(Tex.  Crim. App. 2005).  We must dismiss an appeal if the trial court's certification
shows there is no right to appeal.  See Tex. R. App. P. 25.2(d).

	We note that appellant also waived his right to appeal.  See Buck v. State, 45
S.W.3d 275, 278 (Tex. App.--Houston [1st Dist.] 2001, no pet.).	Accordingly, we dismiss the appeal for lack of jurisdiction.


PER CURIAM


Panel consists of Chief Justice Radack, and Justices Jennings and Bland.


Do not publish.   Tex. R. App. P. 47.2(b).

  


